Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 1 of 32 PageID #: 1




Appellate Case: 20-1588   Page: 1   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 2 of 32 PageID #: 2




Appellate Case: 20-1588   Page: 2   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 3 of 32 PageID #: 3




Appellate Case: 20-1588   Page: 3   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 4 of 32 PageID #: 4




Appellate Case: 20-1588   Page: 4   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 5 of 32 PageID #: 5




Appellate Case: 20-1588   Page: 5   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 6 of 32 PageID #: 6




Appellate Case: 20-1588   Page: 6   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 7 of 32 PageID #: 7




Appellate Case: 20-1588   Page: 7   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 8 of 32 PageID #: 8




Appellate Case: 20-1588   Page: 8   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 9 of 32 PageID #: 9




Appellate Case: 20-1588   Page: 9   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 10 of 32 PageID #: 10




 Appellate Case: 20-1588   Page: 10   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 11 of 32 PageID #: 11




 Appellate Case: 20-1588   Page: 11   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 12 of 32 PageID #: 12




 Appellate Case: 20-1588   Page: 12   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 13 of 32 PageID #: 13




 Appellate Case: 20-1588   Page: 13   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 14 of 32 PageID #: 14




 Appellate Case: 20-1588   Page: 14   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 15 of 32 PageID #: 15




 Appellate Case: 20-1588   Page: 15   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 16 of 32 PageID #: 16




 Appellate Case: 20-1588   Page: 16   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 17 of 32 PageID #: 17




 Appellate Case: 20-1588   Page: 17   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 18 of 32 PageID #: 18




 Appellate Case: 20-1588   Page: 18   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 19 of 32 PageID #: 19




 Appellate Case: 20-1588   Page: 19   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 20 of 32 PageID #: 20




 Appellate Case: 20-1588   Page: 20   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 21 of 32 PageID #: 21




 Appellate Case: 20-1588   Page: 21   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 22 of 32 PageID #: 22




 Appellate Case: 20-1588   Page: 22   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 23 of 32 PageID #: 23




 Appellate Case: 20-1588   Page: 23   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 24 of 32 PageID #: 24




 Appellate Case: 20-1588   Page: 24   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 25 of 32 PageID #: 25




 Appellate Case: 20-1588   Page: 25   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 26 of 32 PageID #: 26




 Appellate Case: 20-1588   Page: 26   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 27 of 32 PageID #: 27




 Appellate Case: 20-1588   Page: 27   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 28 of 32 PageID #: 28




 Appellate Case: 20-1588   Page: 28   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 29 of 32 PageID #: 29




 Appellate Case: 20-1588   Page: 29   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 30 of 32 PageID #: 30




 Appellate Case: 20-1588   Page: 30   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 31 of 32 PageID #: 31




 Appellate Case: 20-1588   Page: 31   Date Filed: 03/20/2020 Entry ID: 4893679
Case: 1:20-cv-00148-HEA Doc. #: 1 Filed: 07/08/20 Page: 32 of 32 PageID #: 32




 Appellate Case: 20-1588   Page: 32   Date Filed: 03/20/2020 Entry ID: 4893679
